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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


 TRACEY DAMRAU and DANIELLE OSHEA,
 individually and on behalf of all others similarly
 situated,
                                                      Civil Action No. 4:24-cv-01441
                      Plaintiff,
        v.

 COLIBRI GROUP, LLC,

                      Defendant.


              PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY
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       Plaintiffs Tracey Damrau and Danielle Oshea respectfully submit this Notice of

Supplemental Authority to notify this Court of three decisions denying motions to dismiss based

on similar allegations as present in this case. Those decisions are: Manza v. Pesi, No. 3:24-cv-

00690-jdp (W.D. Wis. May 20, 2025), Macalpine v. Onnit Labs, Inc., No. 1:24-cv-00933-DAE

(W.D. Tex. May 14, 2025), and Kueppers v. Zumba Fitness LLC, No. 0:24-cv-61983, ECF No. 23

(S.D. Fla. May 8, 2025). Plaintiffs further state as follows:

       1.       The Manza decision involved similar Meta Pixel and tracking technology

allegations, evaluated and rejected the Solomon v. Flipps Media, Inc. decision, and was issued by

the United States District Court for the Western District of Wisconsin. Plaintiffs could not have

cited this authority previously because the decision was issued on May 20, 2025, which was after

the briefing had closed. A copy of the Manza opinion is attached hereto as Exhibit A.

       2.      In Manza, the Court considered and rejected the “ordinary person” standard for the

definition of “personally identifiable information” as that term appears in the Video Privacy

Protection Act (“VPPA”), 18 U.S.C. § 2710(a)(3).

       3.      The Court in Manza expressly engaged with the Second Circuit’s reasoning in

Solomon. It wrote:

       The courts that have adopted the “ordinary person” standard have identified little
       textual basis for the limitation they impose. Solomon acknowledged that the plain
       language of the VPPA was broad enough “to encompass computer code and digital
       identifiers,” but the court concluded that the statute is “more naturally read as
       referring to information that would permit an ordinary person to learn another
       individual’s video-watching history,” 2025 WL 1256641, at *9, without
       explaining why.

       ...

       Rather than rely on the text, the courts adopting an “ordinary person” test have
       concluded that the meaning of PII is ambiguous in the VPPA, and they rely on other
       tools of statutory construction to support a narrower reading. See, e.g.,
       Nickelodeon, 827 F.3d at 284. But the reasons they provide are not persuasive.



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      First, they say that a narrower interpretation is supported by legislative history and
      the purpose of the VPPA. For example, Nickelodeon quotes extensively from
      congressional committee reports. See S. Rep. No. 100-599 (1988) (Senate Report);
      Video and Library Privacy Protection Act of 1988: Hearing on H.R. 4947 & S.
      2361 Before the Subcomm. on Courts, Civil Liberties & the Admin. of Justice of
      the H. Comm. on the Judiciary & the Subcomm. on Tech. & the Law of the S.
      Comm. on the Judiciary, 100th Cong. (1988). But there are no references to the
      “ordinary person” standard or anything similar in those reports. . .

      If anything, the text, purpose, and history of the statute suggest that Congress
      intended the meaning of PII to be expansive so that it could adapt to changing
      technology. Even Nickelodeon acknowledged that there was support for such a
      view. See 827 F.3d at 285 (“[T]here are portions of the legislative history that might
      be read to support . . . a view [that] Congress intended to pass a broad statute that
      would protect consumer privacy even as video-watching technology changed over
      time.”).

      Second, Nickelodeon, Solomon, and Eichenberger focused on the specific impetus
      for the VPPA—a reporter’s disclosure of Judge Robert Bork’s video tape rental
      history—and the state of technology in 1988 . . . Neither of these observations is
      a reason to interpret the VPPA narrowly. “[S]tatutory prohibitions often go
      beyond the principal evil to cover reasonably comparable evils, and it is ultimately
      the provisions of our laws rather than the principal concerns of our legislators by
      which we are governed.” Oncale v. Sundowner Offshore Services, Inc., 523 U.S.
      75, 79 (1998). The question is not whether Congress had a plaintiff’s specific
      problem in mind when it enacted the statute, but whether the statute uses
      language broad enough to cover the problem. This court has concluded that it
      does.

      Third, Nickelodeon and Solomon reviewed other statutes that include definitions of
      PII. They focused on the Children’s Online Privacy Protection Act (COPPA) in
      particular, noting that the definition of PII in that statute is a discrete list of
      items and that the Federal Trade Commission may add more items, one of
      which is “[a] persistent identifier, such as a customer number held in a cookie
      or a processor serial number, where such identifier is associated with
      individually identifiable information.” Nickelodeon, 827 F.3d at 287.
      Nickelodeon observed that the VPPA “does not empower an administrative agency
      to augment the definition of ‘personally identifiable information’ in light of
      changing circumstances or new technologies. The meaning of that phrase in the Act
      is, it would appear, more static.” Id. Solomon made the same point. 2025 WL
      1256641, at *10. Again, the courts did not explain how their observation
      supported an “ordinary person” standard. “Static” does not mean “narrow.”
      COPPA is not instructive because its definition of PII is a laundry list; VPPA’s
      more general definition does not need to be “updated.”




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       Fourth, Nickelodeon and Solomon made a similar argument related to Congress’s
       failure to amend the definition of PII when it amended other provisions of the
       VPPA in 2013 . . . This argument again rests on the false assumption that the
       VPPA defines PII narrowly, so it was necessary to amend the statute to keep
       up with modern technology. But as this court has already explained, the VPPA
       is already broad enough so that it does not need to be updated.

       In any event, the Supreme Court has cautioned against using Congress’s
       failure to amend a statute as evidence of legislative intent . . . Even if
       subsequent legislative history were an appropriate basis for statutory
       interpretation, neither Nickelodeon nor Solomon cite any legislative reports or
       other evidence shedding light on why Congress chose not to amend the
       definition of PII in the VPPA.

       Fifth, and finally, Nickelodeon, Solomon, and Eichenberger were concerned about
       the potential breadth of the VPPA and unfairness to video tape service providers

       ...

       This concern is misplaced in two respects. First, the “ordinary person” standard
       does turn on circumstances outside the video tape service provider’s control
       and it does not provide clear guidance to a video tape service provider because
       it rests on what a hypothetical third party may do with the information it
       received, and it requires the video tape service provider to speculate on the
       abilities of an “ordinary person.” How computer savvy is the “ordinary
       person?” What access to information does she have? How motivated is she to
       obtain that information? These are all questions that a video tape service
       provider must ask itself under the “ordinary person” standard, and they do
       not have obvious answers. For example, courts have come to different
       conclusions about whether an “ordinary person” could identify a video
       customer using a Facebook ID. Compare Solomon, 2025 WL 1256641, at *10–
       11 with Ghanaat v. Numerade Labs, Inc., 689 F. Supp. 3d 714, 720 (N.D. Cal.
       2023). In contrast, a test that asks whether the information aids in uniquely
       identifying the customer is objective and focuses on the nature of the information
       rather than on speculation about a third party.

       Second, concerns about unfairness to video tape service providers are
       addressed by the VPPA’s intent element. A video tape service provider may
       be held liable only if it “knowingly discloses” PII. The word “knowingly”
       generally applies to all subsequently listed elements of a statute. See Flores-
       Figueroa v. U.S., 556 U.S. 646, 650 (2009). So if a video tape service provider is
       not aware either that it is disclosing certain information or that the information it is
       disclosing can be used to identify an individual’s video purchases, the provider did
       not violate the VPPA.

See id. at 10-15 (emphasis added).



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       4.      After thoroughly examining the flaws in the decisions of the Second, Third,

and Ninth Circuits, the Manza court further explained that:

       There is another reason why the “ordinary person” standard is not persuasive,
       which is that it creates a substantial loophole in the VPPA’s coverage and
       allows easy evasion, at least as the standard is understood by Pesi. Under Pesi’s
       view, a video tape service provider is free to disclose a customer’s video purchases
       to social media companies, data brokers, or anyone else, even when the provider
       knows that the third party will be able to easily identify the customer, so long as
       the provider uses a “code” that an “ordinary person” could not decipher.

       ...

       [Defendant’s] view makes no sense. The purpose of the VPPA is to prevent
       video tape service providers from disclosing information that allows third
       parties to identify a customer’s video purchases. That purpose is not served by
       allowing video tape service providers and third parties to knowingly evade the
       statute by disclosing a customer’s identity with a number unknown to the
       “ordinary person” but known by the recipient. It is rarely the “ordinary
       person” who is seeking to invade a consumer’s privacy. More commonly, it is
       entities like those discussed in Manza’s amended complaint. If the court were to
       adopt Pesi’s view, it would suggest that even Social Security numbers are not PII
       because an “ordinary person” might not be able to use the number to identify an
       individual without significant effort. See In re Vizio, Inc., Consumer Privacy
       Litigation, 238 F. Supp. 3d 1204, 1224–25 (C.D. Cal. 2017).

See id. at 16-17 (emphasis added).


       5.      The Macalpine decision also involved similar Meta Pixel allegations and was

issued by the Honorable David Alan Ezra on the United States District Court for the Western

District of Texas. Plaintiffs could not have cited this authority previously because the decision

was issued on May 14, 2025, which was after the briefing had closed. A copy of the Macalpine

opinion is attached hereto as Exhibit B.

       6.      In Macalpine, the court explained that “[e]ven assuming the ‘ordinary person’

standard applies here, courts have also readily found that a Facebook ID is a ‘unique identifier that




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is enough, on its own to identify a person’ for purposes of the VPPA . . . The Court finds these

cases persuasive and concludes the same.”

        7.      The court in Macalpine further examined the “knowing” disclosure allegations and

concluded that “[t]aking the Plaintiffs allegations as true, the Court finds Plaintiffs sufficiently

allege that Defendant knowingly disclosed their PII by intentionally installing the Meta Pixel on

its Website.”

        8.      The Kueppers decision also involved similar Meta Pixel allegations and was issued

by the United States District Court for the Southern District of Florida. Plaintiffs could not have

cited this authority previously because the decision was issued on May 8, 2025, which was after

the briefing had closed. A copy of the Kueppers opinion is attached hereto as Exhibit C.

        9. In Kueppers, the Third Circuit’s decision was questioned by the court when it explained

that:

        There is evidence from the Nickelodeon opinion that the Third Circuit didn’t
        specifically raise the standard for who needed to be able to tie the disclosure to an
        individual person. Instead, the court’s holding seems to be about the ease with
        which one could draw the connection between the numerical identifier disclosed
        and the individual video consumer. See Nickelodeon, 827 F.3d at 284 (“Our review
        of the legislative history convinces us that Congress's purpose in passing the Video
        Privacy Protection Act was quite narrow: to prevent disclosures of information that
        would, with little or no extra effort, permit an ordinary recipient to identify a
        particular person's video-watching habits.”) (emphasis added). This “ordinary
        recipient” language suggests that its holding applies to any recipient, not an
        “ordinary person” in the legal sense of the term.

See id., at page 8 (emphasis added, italics in original).

        10.     The court in Kueppers then rejected the ordinary person standard, explaining:

        In the absence of binding precedent, the Court finds ample support from case
        law and from the statute itself for the proposition that, so long as the person
        or entity receiving the disclosure could reasonably and foreseeably identify
        which videos a person has obtained, Plaintiff sufficiently alleges a violation of
        the statute. See Yershov, 820 F.3d at 486. Here, the Complaint alleges Defendant
        intentionally installed the Meta Pixel which transmitted to Meta Plaintiffs’



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       Facebook IDs in conjunction with the URL link to the training course purchased.
       And certainly, (contrary to Defendant’s ancillary point), “Meta can easily ‘link’ the
       FID to a specific user.” Li v. Georges Media Grp. LLC, No. CV 23-1117, 2023 WL
       7280519, *4 (E.D. La. Nov. 3, 2023); see also Compl. ¶ 51 (quoting Meta’s
       developer guide as stating that “a Meta Pixel installed on a company’s website
       allows Meta to ‘match [] website visitors to their respective Facebook User
       accounts.’”).

       In the alternative, Plaintiffs argue that, to the extent there is an ordinary
       person requirement, Plaintiff has alleged an ordinary person could tie the
       videos to the consumers. The Court agrees. See Martinez v. D2C, LLC, No. 23-
       21394-CIV, 2023 WL 6587308, at *4 (S.D. Fla. Oct. 10, 2023) (assuming without
       deciding the ordinary person standard applied, but finding Plaintiff nonetheless
       stated a claim where it alleged the Facebook ID was disclosed because “[t]he
       [Facebook ID] is a unique identifier that is enough, on its own, to identify a
       person.”) (quoting Sellers, 2023 WL 4850180 at *4).

See id., at page 9-10 (emphasis added).



Dated: May 21, 2025                                  Respectfully submitted,

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